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IN THE UNITED STATES DlSTRICT COURT
NORTHERN DlSTRICT OF ILLINOIS EASTERN DIVISION

IN RE: Caprice Sullivan ) Case No.
)
)
Plaintiff ] COMPLAINT
)
)
v. ) july Demand Requested
)
Comenity Bank )
3100 Easton Square Place )
Columbus, OH 43219 )
)
Defendant )

 

COMPLAINT AND DEMAND FOR ]URY TRIAL
Now comes Plaintiff, by and through her attorneys, and, for her Complaint alleges as follows:
I. INTRODUCTION

1. This is an action for actual and statutory damages brought by an individual
consumer for Defendant’s violations of the Te|ephone Consumer
Protection Act of 1991 (herein referred to as the “TCPA”)

||. JUR|SD|CT|ON AND VENUE
2. Subject matterjurisdiction of this Court arises under 28 U.S.C. Section
1331

3. Venue is proper in this district under 28 U.S.C. Section 1391(b) in that the
Defendant transacts business in the Northern District of |||inois and the
conduct complained of occurred in Northern District of |||inois.

|||. P/-\RT|ES

4. Plaintit"f, Caprice Su||ivan is a natural person residing in County of Cook

and State of |||inois.

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Defendant, Comenity Bank is a foreign business corporation organized
under the laws of the Ohio.

That at all times relevant herein, Defendant owned, operated and/or
controlled “customer premises equiptment” as defined by the TCPA, 47
U.S.C. Section 153(16), that originated, routed, and/or terminated
telecommunications

That at all times relevant herein, Plaintiff Was and is a “person” as defined
by the TCPA, 47 U.S.C. Section 153(39).

That at all times relevant herein, Defendant has used the United States
mail service, telephone, telegram and other instrumentalities of interstate
and intrastate commerce to attempt to collect consumer debt allegendly
owed to another.

That Defendant, at all times relevant herein, engaged in “interstate
communications” as that term is defined by the TCPA, 47 U.S.C. Section
153(28).

That Defendant, at all times relevant herein, engaged in
“telecommunications" as that term is defined by the TCPA, 47 U.S.C.
Section 153(50).

That Defendant, at all times relevant herein, used, controlled and/or
operated “Wire communications” as defined by the TCPA, 47 U.S.C.
Section 153(59), that existed as instrumentalities of interstate and
intrastate commerce.

That Defendant, at all times relevant herein, used, controlled and/or
operated “automatic telephone dialining systems” as denned by the TCPA,
47 U.S.C. Section 227(a)(1) and 47 C.F.R. 64.1200(f)(2).

The acts of the Defendant alleged hereinafter Were performed by its
employees acting Within the scope of their actual and apparent authority.
A|l references to “Defendant" herein shall mean the Defendant or an

employee of said Defendant,

|V. FACTUAL ALLEGAT|ONS

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Plaintiff Caprice Sullivan, incurred a debt with Defendant.

On Friday, January 27, 2017, with her Mother present, Plaintiff and her
Bankruptcy Attorney told Defendant on the telephone that they were
“revoking” Defendant's permission to contact Plaintiff; this was made
crystal clear.

After this lawful revocation, Defendant has called Plaintiff approximately
forty (40) times to her cellular phone.

For all of the calls mentioned in paragraph 17 of this Complaint, clear
revocation had already been made by Plaintiff and received by Defendant.
All of the above-mentioned telephone calls were made using an automatic
dialing machine wherein Defendant left artificial and/or prerecorded voiced
messages

That Defendant continued to call Plaintiff on her cellular telephone despite
the revocation of her prior express consent to do so.

As a result of foregoing, Plaintiff became nervous, upset, and suffered
from emotional distress

Plaintiff repeats, realleges and incorporates by reference the preceding
and succeeding paragraphs in this complaint as if each of them was
reprinted herein below.

The Defendant at all times material and relevant hereto, unfairly,
unlawfully, intentionally, deceptively and/or fraudulently violated the TCPA,
47 U.S.C. Section 227, et seq. and 47 C.F.R.14.1200, et seq. and TCPA,
47 U.S.C. 227(b)(1)(A)(iii) by initiating telephone calls to Plaintist
telephone using an automatic telephone dialing system and/or used an
artificial and/or prerecorded voice to deliver messages without having
consent to make such calls and leave such messages

The acts and/or omissions of Defendant at all times material and relevant
hereto, as described in this Complaint, were done unfairly, unlawfully,
intentionally, deceptively and fraudulently with the express and sole

purpose of unfairly, unlawfully, intentionally, deceptively and fraudulently

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coercing Plaintiffs to pay the alleged debtor and to harass him.

The acts and/or omissions of the Defendant at all times material and
relevant hereto, as described in this complaint, were done unfairly
unlawfully, intentionally, deceptively and fraudulently with the express and
sole purpose of unfairly, unlawfully, intentionally, deceptively and
fraudulently and absent bona fide error, lawful right, legal defense, legal
justification or legal excuse.

The acts and/or omissions of the Defendant at all times material and
relevant hereto, as described in this complaint, were not acted or omitted
pursuant to 47 C.F.R. Section 64.1200(f)(2).

As a causally-direct and legally proximate result of the above violations of
the TCPA, THE Defendnant at all times material and relavent hereto, as
described in this complaint, casued the Plaintiff to sustain damages as a
result of their innumerable telephone calls that harassed, annoyed and
abused Plaintiffs, and abused Plaintiffs, and disturbed her peace and
tranquility at home and elsewhere.

As a causally-direct and legally proximate result of the above violations of
the TCPA, THE Defendnant at all times material and relavent hereto, as
described in this complaint, caused the Plaintiffs to sustain damages and
experience severe emotional distress

As a causally-direct and legally proximate result of the above violations of
the TCPA, THE Defendnant at all times material and relavent hereto, as
described in this complaint, is liable to actual damages statutory
damages, treble damages, and costs and attorneys fees

Plaintiff received multiple calls from Defendant using an automatic
telephone dialing system and/or an artificial and/or prerecorded voice
entitling Plaintiff to Five Hundred Dollars and No Cents ($1500) for each
artificial and/or prerecorded telephone call pursuant to the TCPA, 47
U.S.C. Section 227(d)(3)(B).

WHEREFORE, the Court should enter Judgment in favor of Plaintiff and

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against Defendant for:
(1) Acutal damages;
(2) Statutory damages pursuant to 47 U.S.C. Section
227(b)(3).
(3) Treble damages pursunt to 47 U.S.C. Section227(d)(3);
(4) For such other and further relief as my be just and

proper.

February 2, 2017

Respectfully submitted,

/s/ John Carlin
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